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790 E. Colorado Blvd., Suite 600
Pasadena, CA 91101

(626) 243-1100 — FAX (626) 243-1111
Email: tguterres@ccllp.law

Email: kbusch@ccllp.law

Attorneys for Defendant,

BRIAN JOSHUA COOK, an individual,
Plaintiff,

VS.

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)
COUNTY OF LOS ANGELES, )
DEPUTY VALENZUELA (#53299), in )
his individual and official capacity: )
DEPUTY DONDANVILLE (#521636), _)
in his individual and official capacity and )
DOES | through 10 inclusive, )
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Defendants.

 

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P:19-cv-02417-JVS-KS Document 72 Filed 11/29/21 Page1of15 Page ID #:605

Tomas A. Guterres, Esq. (State Bar No. 152729)
Kristin T. Busch, Esq. (State Bar No. 311772)

DEPUTY VALENZUELA and DEPUTY DONDANVILLE
UNITED STATES DISTRICT COURT

CENTRAL DISTRICT OF CALIFORNIA

CASE NO. 2:19-cv-02417-JVS-KS
[Assigned to Hon. James V. Selna in
Courtroom 10C]

DISCOVERY MATTER

PROPOSED STIPULATED
PROTECTIVE ORDER

Complaint Filed: 03/29/2019

Trial Date: 07/12/2022

 

 

 

PROPOSED STIPULATED PROTECTIVE ORDER

 
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A. PURPOSES AND LIMITATIONS

Disclosure and discovery in this action is likely to involve production of
confidential, proprietary, or private information for which special protection from
public disclosure and from use for any purpose other than prosecuting this litigation
may be warranted. Accordingly, the parties hereby stipulate to and petition the Court
to enter the following Stipulated Protective Order. The parties acknowledge that this
Order does not confer blanket protections on all disclosures or responses to
discovery and that the protection it affords from public disclosure and use extends
only to the limited information or items that are entitled to confidential treatment
under the applicable legal principles. The parties further acknowledge, as set forth in
Section 12.3, below, that this Stipulated Protective Order does not entitle them to
file confidential information under seal; Civil Local Rule 79-5 sets forth the
procedures that must be followed and the standards that will be applied when a party
seeks permission from the court to file material under seal.

B. GOOD CAUSE STATEMENT

 

This action involves the conduct of Los Angeles County Sheriff's deputies
within the scope of their duties and whether they used excessive force on Plaintiff
Brian Cook during an investigation at Plaintiff's home on January 4, 2017. This
action is likely to involve materials protected by California Evidence Code section
1040 et seq., the privilege for official information (Sanchez v. City of Santa Ana, 936
F.2d 1027, 1033 (9th Cir. 1990)), California Penal Code section 832.5 ef seq.,
California Evidence Code sections 1043 and 1045, other state or federal statutes,
court rules, case decisions, and common law prohibiting dissemination and
disclosure. Additionally, this action may involve other proprietary information
concerning police practices and security protocols for which special protection from
public disclosure and from use for any purpose other than prosecution of this action

is warranted.

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PROPOSED STIPULATED PROTECTIVE ORDER

 

 
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In terms of disclosure and discovery, Defendants Deputy Dondanville and
Deputy Valenzuela anticipate that a protective order will be necessary in connection
with the training information in their personnel files or of any other deputy not
named as a defendant in this case.

Accordingly, to expedite the flow of information, to facilitate the prompt
resolution of disputes over confidentiality of discovery materials, to adequately
protect information the parties are entitled to keep confidential, to ensure that the
parties are permitted reasonable necessary uses of such material in preparation for
and in the conduct of trial, to address their handling at the end of the litigation, and
serve the ends of justice, a protective order for such information is justified in this
matter. It is the intent of the parties that information will not be designated as
confidential for tactical reasons and that nothing be so designated without a good
faith belief that it has been maintained in a confidential, non-public manner, and
there is good cause why it should not be part of the public record of this case.

Good cause further exists because if this confidential information were made
public in this proceeding, it could allow for misuse of the peace officer personnel
information and other official information in other judicial and administrative
proceedings. Additionally, all named deputies are currently active peace officers,
some or all of whom regularly work in the field; therefore, if this confidential
information were made public, the information could be misused in ways that
endanger the lives of the deputies and their families or will interfere with their law
enforcement duties.

2. DEFINITIONS

2.1 Action: Brian Joshua Cook v. County of Los Angeles, et al., Case

No. 2:19-cv-02417-JVS-KS.

2.2 Challenging Party: a Party or Non-Party that challenges the
designation of information or items under this Order.
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PROPOSED STIPULATED PROTECTIVE ORDER

 

 
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2.3 “CONFIDENTIAL” Information or Items: information (regardless
of how it is generated, stored or maintained) or tangible things that qualify for
protection under Federal Rule of Civil Procedure 26(c), and as specified above in
the Good Cause Statement.

2.4 Counsel: Outside Counsel of Record and House Counsel (as well as
their support staff).

2.5 Designating Party: a Party or Non-Party that designates information
or items that it produces in disclosures or in responses to discovery as
“CONFIDENTIAL.”

2.6 Disclosure or Discovery Material: all items or information,

 

regardless of the medium or manner in which it is generated, stored, or maintained
(including, among other things, testimony, transcripts, and tangible things), that are
produced or generated in disclosures or responses to discovery in this matter.

2.7 Expert: a person with specialized knowledge or experience in a
matter pertinent to the litigation who has been retained by a Party or its counsel to
serve as an expert witness or as a consultant in this Action.

2.8 House Counsel: attorneys who are employees of a party to this
Action. House Counsel does not include Outside Counsel of Record or any other
outside counsel.

2.9 Non-Party: any natural person, partnership, corporation,
association, or other legal entity not named as a Party to this action.

2.10 Outside Counsel of Record: attorneys who are not employees of a
party to this Action but are retained to represent or advise a party to this Action and
have appeared in this Action on behalf of that party or are affiliated with a law firm
which has appeared on behalf of that party, and includes support staff.

2.11 Party: any party to this Action, including all of its officers,
directors, employees, consultants, retained experts, and Outside Counsel of Record
(and their support staffs).

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2.12 Producing Party: a Party or Non-Party that produces Disclosure or
Discovery Material in this Action.

2.13 Professional Vendors: persons or entities that provide litigation

 

support services (e.g., photocopying, videotaping, translating, preparing exhibits or
demonstrations, and organizing, storing, or retrieving data in any form or medium)
and their employees and subcontractors.
2.14 Protected Material: any Disclosure or Discovery Material that is
designated as “CONFIDENTIAL.”
2.15 Receiving Party: a Party that receives Disclosure or Discovery
Material from a Producing Party.
3. SCOPE
The protections conferred by this Stipulation and Order cover not only
Protected Material (as defined above), but also (1) any information copied or
extracted from Protected Material; (2) all copies, excerpts, summaries, or
compilations of Protected Material: and (3) any testimony, conversations, or
presentations by Parties or their Counsel that might reveal Protected Material.
Any use of Protected Material at trial shall be governed by the orders of the
trial judge. This Order does not govern the use of Protected Material at trial.
4. DURATION
Even after final disposition of this litigation, the confidentiality obligations
imposed by this Order shall remain in effect until a Designating Party agrees
otherwise in writing or a court order otherwise directs. Final disposition shall be
deemed to be the later of (1) dismissal of all claims and defenses in this Action, with
or without prejudice; and (2) final judgment herein after the completion and
exhaustion of all appeals, rehearings, remands, trials, or reviews of this Action,
including the time limits for filing any motions or applications for extension of time
pursuant to applicable law.
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5. DESIGNATING PROTECTED MATERIAL

5.1 Exercise of Restraint and Care in Designating Material for Protection.
Each Party or Non-Party that designates information or items for protection under
this Order must take care to limit any such designation to specific material that
qualifies under the appropriate standards. The Designating Party must designate for
protection only those parts of material, documents, items, or oral or written
communications that qualify so that other portions of the material, documents,
items, or communications for which protection is not warranted are not swept
unjustifiably within the ambit of this Order.

Mass, indiscriminate, or routinized designations are prohibited. Designations
that are shown to be clearly unjustified or that have been made for an improper
purpose (e.g., to unnecessarily encumber the case development process or to impose
unnecessary expenses and burdens on other parties) may expose the Designating
Party to sanctions.

If it comes to a Designating Party’s attention that information or items that it
designated for protection do not qualify for protection, that Designating Party must
promptly notify all other Parties that it is withdrawing the inapplicable designation.

5.2 Manner and Timing of Designations. Except as otherwise provided in this
Order (see, e.g., second paragraph of section 5.2(a) below), or as otherwise
stipulated or ordered, Disclosure or Discovery Material that qualifies for protection
under this Order must be clearly so designated before the material is disclosed or
produced.

Designation in conformity with this Order requires:

(a) for information in documentary form (e.g., paper or electronic documents,
but excluding transcripts of depositions or other pretrial or trial proceedings), that
the Producing Party affix at a minimum, the legend “CONFIDENTIAL” (hereinafter
“CONFIDENTIAL legend”), to each page that contains protected material. If only a
portion or portions of the material on a page qualifies for protection, the Producing

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Party also must clearly identify the protected portion(s) (e.g., by making appropriate
markings in the margins).

A Party or Non-Party that makes original documents available for inspection
need not designate them for protection until after the inspecting Party has indicated
which documents it would like copied and produced. During the inspection and
before the designation, all of the material made available for inspection shall be
deemed “CONFIDENTIAL.” After the inspecting Party has identified the
documents it wants copied and produced, the Producing Party must determine which
documents, or portions thereof, qualify for protection under this Order. Then, before
producing the specified documents, the Producing Party must affix the
“CONFIDENTIAL legend” to each page that contains Protected Material. If only a
portion or portions of the material on a page qualifies for protection, the Producing
Party also must clearly identify the protected portion(s) (e.g., by making appropriate
markings in the margins).

(b) for testimony given in depositions that the Designating Party identify the
Disclosure or Discovery Material on the record, before the close of the deposition all
protected testimony.

(c) for information produced in some form other than documentary and for
any other tangible items, that the Producing Party affix in a prominent place on the
exterior of the container or containers in which the information is stored the legend
“CONFIDENTIAL.” If only a portion or portions of the information warrants
protection, the Producing Party, to the extent practicable, shall identify the protected
portion(s).

5.3 Inadvertent Failures to Designate. If timely corrected, an inadvertent
failure to designate qualified information or items does not, standing alone, waive
the Designating Party’s right to secure protection under this Order for such material.
Upon timely correction of a designation, the Receiving Party must make reasonable
efforts to assure that the material is treated in accordance with the provisions of this

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Order.
6. CHALLENGING CONFIDENTIALITY DESIGNATIONS
6.1 Timing of Challenges. Any Party or Non-Party may challenge a

 

designation of confidentiality at any time that is consistent with the Court’s
Scheduling Order.

6.2 Meet_and Confer. The Challenging Party shall initiate the dispute
resolution process under Local Rule 37.1 et seq.

6.3 The burden of persuasion in any such challenge proceeding shall be on the
Designating Party. Frivolous challenges, and those made for an improper purpose
(e.g., to harass or impose unnecessary expenses and burdens on other parties) may
expose the Challenging Party to sanctions. Unless the Designating Party has waived
or withdrawn the confidentiality designation, all parties shall continue to afford the
material in question the level of protection to which it is entitled under the
Producing Party’s designation until the Court rules on the challenge.

7. ACCESS TO AND USE OF PROTECTED MATERIAL

7.1 Basic Principles. A Receiving Party may use Protected Material that is
disclosed or produced by another Party or by a Non-Party in connection with this
Action only for prosecuting, defending, or attempting to settle this Action. Such
Protected Material may be disclosed only to the categories of persons and under the
conditions described in this Order. When the Action has been terminated, a
Receiving Party must comply with the provisions of section 13 below (FINAL
DISPOSITION).

Protected Material must be stored and maintained by a Receiving Party at a
location and in a secure manner that ensures that access is limited to the persons
authorized under this Order.

7.2 Disclosure of “CONFIDENTIAL” Information or Items. Unless otherwise

 

ordered by the court or permitted in writing by the Designating Party, a Receiving
Party may disclose any information or item designated “CONFIDENTIAL” only to:

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(a) the Receiving Party’s Outside Counsel of Record in this Action, as well as
employees of said Outside Counsel of Record to whom it is reasonably necessary to
disclose the information for this Action;

(b) the officers, directors, and employees (including House Counsel) of the
Receiving Party to whom disclosure is reasonably necessary for this Action;

(c) Experts (as defined in this Order) of the Receiving Party to whom
disclosure is reasonably necessary for this Action and who have signed the
“Acknowledgment and Agreement to Be Bound” (Exhibit A);

(d) the court and its personnel;

(e) court reporters and their staff;

(f) professional jury or trial consultants, mock jurors, and Professional
Vendors to whom disclosure is reasonably necessary for this Action and who have
signed the “Acknowledgment and Agreement to Be Bound” (Exhibit A);

(g) the author or recipient of a document containing the information or a
custodian or other person who otherwise possessed or knew the information;

(h) during their depositions, witnesses, and attorneys for witnesses, in the
Action to whom disclosure is reasonably necessary provided: (1) the deposing party
requests that the witness sign the form attached as Exhibit | hereto; and (2) they will
not be permitted to keep any confidential information unless they sign the
“Acknowledgment and Agreement to Be Bound” (Exhibit A), unless otherwise
agreed by the Designating Party or ordered by the court. Pages of transcribed
deposition testimony or exhibits to depositions that reveal Protected Material may be
separately bound by the court reporter and may not be disclosed to anyone except as
permitted under this Stipulated Protective Order; and

(1) any mediator or settlement officer, and their supporting personnel,
mutually agreed upon by any of the parties engaged in settlement discussions.

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8. PROTECTED MATERIAL SUBPOENAED OR ORDERED PRODUCED
IN OTHER LITIGATION

If a Party is served with a subpoena or a court order issued in other litigation
that compels disclosure of any information or items designated in this Action as
“CONFIDENTIAL,” that Party must:

(a) promptly notify in writing the Designating Party. Such notification shall
include a copy of the subpoena or court order;

(b) promptly notify in writing the party who caused the subpoena or order to
issue in the other litigation that some or all of the material covered by the subpoena
or order is subject to this Protective Order. Such notification shall include a copy of
this Stipulated Protective Order; and

(c) cooperate with respect to all reasonable procedures sought to be pursued
by the Designating Party whose Protected Material may be affected.

If the Designating Party timely seeks a protective order, the Party served with
the subpoena or court order shall not produce any information designated in this
action as “CONFIDENTIAL” before a determination by the court from which the
subpoena or order issued, unless the Party has obtained the Designating Party’s
permission. The Designating Party shall bear the burden and expense of seeking
protection in that court of its confidential material and nothing in these provisions
should be construed as authorizing or encouraging a Receiving Party in this Action
to disobey a lawful directive from another court.

9. A _NON-PARTY’S PROTECTED MATERIAL SOUGHT TO BE
PRODUCED IN THIS LITIGATION

 

(a) The terms of this Order are applicable to information produced by a Non-
Party in this Action and designated as “CONFIDENTIAL.” Such information
produced by Non-Parties in connection with this litigation is protected by the
remedies and relief provided by this Order. Nothing in these provisions should be
construed as prohibiting a Non-Party from seeking additional protections.

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(b) In the event that a Party is required, by a valid discovery request, to
produce a Non-Party’s confidential information in its possession, and the Party is
subject to an agreement with the Non-Party not to produce the Non-Party’s
confidential information, then the Party shall:

(1) promptly notify in writing the Requesting Party and the Non-Party that
some or all of the information requested is subject to a confidentiality agreement
with a Non-Party;

(2) promptly provide the Non-Party with a copy of the Stipulated Protective
Order in this Action, the relevant discovery request(s), and a reasonably specific
description of the information requested; and

(3) make the information requested available for inspection by the Non-Party,
if requested.

(c) If the Non-Party fails to seek a protective order from this court within 14
days of receiving the notice and accompanying information, the Receiving Party
may produce the Non-Party’s confidential information responsive to the discovery
request. If the Non-Party timely seeks a protective order, the Receiving Party shall
not produce any information in its possession or control that is subject to the
confidentiality agreement with the Non-Party before a determination by the court.
Absent a court order to the contrary, the Non-Party shall bear the burden and
expense of seeking protection in this court of its Protected Material.

10. UNAUTHORIZED DISCLOSURE OF PROTECTED MATERIAL

If a Receiving Party learns that, by inadvertence or otherwise, it has disclosed
Protected Material to any person or in any circumstance not authorized under this
Stipulated Protective Order, the Receiving Party must immediately (a) notify in
writing the Designating Party of the unauthorized disclosures, (b) use its best efforts
to retrieve all unauthorized copies of the Protected Material, (c) inform the person or
persons to whom unauthorized disclosures were made of all the terms of this Order,
and (d) request such person or persons to execute the “Acknowledgment and

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Agreement to Be Bound” that is attached hereto as Exhibit A.
11. NADVERTENT PRODUCTION OF PRIVILEGED OR OTHERWISE
PROTECTED MATERIAL

 

When a Producing Party gives notice to Receiving Parties that certain
inadvertently produced material is subject to a claim of privilege or other protection,
the obligations of the Receiving Parties are those set forth in Federal Rule of Civil
Procedure 26(b)(5)(B). This provision is not intended to modify whatever procedure
may be established in an e-discovery order that provides for production without
prior privilege review. Pursuant to Federal Rule of Evidence 502(d) and (e), insofar
as the parties reach an agreement on the effect of disclosure of a communication or
information covered by the attorney-client privilege or work product protection, the
parties may incorporate their agreement in the stipulated protective order submitted
to the court.

12. MISCELLANEOUS

12.1 Right to Further Relief. Nothing in this Order abridges the right of any
person to seek its modification by the Court in the future.

12.2 Right to Assert Other Objections. By stipulating to the entry of this
Protective Order no Party waives any right it otherwise would have to object to
disclosing or producing any information or item on any ground not addressed in this
Stipulated Protective Order. Similarly, no Party waives any right to object on any
ground to use in evidence of any of the material covered by this Protective Order.

12.3 Filing Protected Material. A Party that seeks to file under seal any
Protected Material must comply with Civil Local Rule 79-5. Protected Material may
only be filed under seal pursuant to a court order authorizing the sealing of the
specific Protected Material at issue. If a Party's request to file Protected Material
under seal is denied by the court, then the Receiving Party may file the information
in the public record unless otherwise instructed by the court.

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13. FINAL DISPOSITION

After the final disposition of this Action, as defined in paragraph 4, within 60
days of a written request by the Designating Party, each Receiving Party must return
all Protected Material to the Producing Party or destroy such material. As used in
this subdivision, “all Protected Material” includes all copies, abstracts, compilations,
summaries, and any other format reproducing or capturing any of the Protected
Material. Whether the Protected Material is returned or destroyed, the Receiving
Party must submit a written certification to the Producing Party (and, if not the same
person or entity, to the Designating Party) by the 60 day deadline that (1) identifies
(by category, where appropriate) all the Protected Material that was returned or
destroyed and (2) affirms that the Receiving Party has not retained any copies,
abstracts, compilations, summaries or any other format reproducing or capturing any
of the Protected Material. Notwithstanding this provision, Counsel are entitled to
retain an archival copy of all pleadings, motion papers, trial, deposition, and hearing
transcripts, legal memoranda, correspondence, deposition and trial exhibits, expert
reports, attorney work product, and consultant and expert work product, even if such
materials contain Protected Material. Any such archival copies that contain or
constitute Protected Material remain subject to this Protective Order as set forth in
Section 4 (DURATION).

14. Any violation of this Order may be punished by any and all appropriate

measures including, without limitation, contempt proceedings and/or monetary

sanctions.
IT IS SO STIPULATED, THROUGH COUNSEL OF RECORD.
DATED: November 24, 2021 COLLINS + COLLINS LLP

By: _/s/ Kristin T. Busch
Kristin T. Busch
Attorneys for Defendant,
DEPUTY VALENZUELA and DEPUTY
DONDANVILLE

 

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PROPOSED STIPULATED PROTECTIVE ORDER

 
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Dated: November 24, 2021 LAW OFFICE OF NIKEYLA JOHNSON

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By: _/s/ Nikeyla Johnson
NIKEYLA JOHNSON
Attorneys for Plaintiff,
BRIAN COOK

Dated: November 24, 2021 PLC LAW GROUP, APC

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By:_/s/ Na’Shaun L. Neal

10 NA’SHAUN L. NEAL
PETER L. CARR, IV
il LAUREN K. MCRAE

12 Attorneys for Plaintiff,

BRIAN COOK
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14 |/TT IS SO ORDERED:
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18 || DATED: November 29, 2021 q Saun L ease _

19 HONORABLE KAREN L. STEVENSON
20 UNITED STATES MAGISTRATE JUDGE

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PROPOSED STIPULATED PROTECTIVE ORDER

 

 

 
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EXHIBIT A
ACKNOWLEDGMENT AND AGREEMENT TO BE BOUND

I, [print or type full name], of

 

[print or type full address], declare under penalty of perjury that
I have read in its entirety and understand the Stipulated Protective Order that was
issued by the United States District Court for the Central District of California on
[date] in the case of Brian Joshua Cook v. County of Los Angeles, et al. (Case No.
2:19-cv-02417-JVS-KS). I agree to comply with and to be bound by all the terms of
this Stipulated Protective Order and I understand and acknowledge that failure to so
comply could expose me to sanctions and punishment in the nature of contempt. I
solemnly promise that I will not disclose in any manner any information or item that
is subject to this Stipulated Protective Order to any person or entity except in strict
compliance with the provisions of this Order.
I further agree to submit to the jurisdiction of the United States District Court for the
Central District of California for enforcing the terms of this Stipulated Protective
Order, even if such enforcement proceedings occur after termination of this action. I

hereby appoint [print or type full name] of

 

[print or type full address and

 

telephone number] as my California agent for service of process in connection with
this action or any proceedings related to enforcement of this Stipulated Protective
Order.
Date:

 

City and State where sworn and signed:

 

Printed name:

 

Signature:
21725

 

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PROPOSED STIPULATED PROTECTIVE ORDER

 
